AO 91 (Rev. 08/09) Criminal Complaint

UNITED STATES DISTRICT COURT

for the
District of Columbia
United States of America ) .
v. ) Case: 1:21-mj-00150
Zachary Hayes Martin ) Assigned to: Judge Zia M. Faruqui
aka Zac Martin ) Assign Date: 1/21/2021
eee Description: COMPLAINT W/ ARREST WARRANT
Defendant(s)

CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date(s) of January 6. 2021 _ in the county of i at ______ in the
i District of _ Columbia , the defendant(s) violated:
Code Section Offense Description
18 U.S.C. § 1752(a)(1) and (2) Restricted Buildings or Grounds

40 U.S.C. § 5104(e)(2)(D) and (G) Unlawtul Activities on Capitol Grounds. Disorderly Conduct and
Demonstrating in the Capitol building

This criminal complaint is based on these facts:
SEE ATTACHED AFFIDAVIT

@ Continued on the attached sheet.

 

Michael J. McGillicuddy, Special Agent

Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by

 

Telephone (specify reliable electronic means).
oe 2021.01.21
Date: 01/21/2021 l I - 20:25:16 -05'00
Judge's signature
City and state: _ Washington, DC Zia M. Faruqui, U.S. Magistrate Judge

Printed name and title

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